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IN THE UNITED STATES DISTRICT COURT APR if 2075
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA, SUPERSEDING INDICTMENT

Plaintiff, JUDGE BRIDGET MEEHAN BRENNAN

Title 18, United States Code,
Sections 2, 924(c)(1)(A)(ii), 1951,
21191), 981 {ay y(C)

CHRISTION YARNELL SIMS,

)
)

Vv. ) CASENO. 1:24CR424
)
)
)
Defendant. )
)

COUNT 1
(Interference with Commerce by Robbery, 18 U.S.C. §§ 1951(a) and 2)

The Grand Jury charges:

1. On or about July 29, 2024, in the Northern District of Ohio, Eastern Division,
Defendants CHRISTION YARNELL SIMS, did unlawfully obstruct, delay and affect
commerce, as that term is defined in Title 18, United States Code, Section 1951(b)(3), and the
movement of articles and commodities in such commerce, by robbery, as that term is defined in
Title 18, United States Code, Section 1951(b)(1), in that Defendant, CHRISTION YARNELL
SIMS, did unlawfully take and obtain money or property in the custody, possession, and
presence of employees and/or subcontractors of Vantage Technical Services and/or Brinks,
against said employees’ will, by means of actual and threatened force, violence, and fear of
immediate injury to said employees, in violation of Title 18, United States Code, Sections

1951 (a) and 2.
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COUNT 2
(Carjacking, 18 U.S.C. § 2119(1) & 2)
The Grand Jury further charges:

2. On or about July 29, 2024, in the Northern District of Ohio, Eastern Division,
Defendants CHRISTION YARNELL SIMS did take a motor vehicle, to wit: a 2018 Nissan NV
Cargo Van, bearing VIN IN6BFOL Y5JN808208, that had been transported, shipped, and
received in interstate and foreign commerce, from the person and presence of Vantage Technical
Services and/or Brinks employees and/or subcontractors, specifically B.O. and R.L.W, persons
known to the grand jury, by force, violence, and intimidation, with the intent to cause death and
serious bodily harm, in violation of Title 18, United States Code, Section 2119(1).

COUNT 3
(Using and Carrying a Firearm During and in Relation to a Crime of Violence,
18 U.S.C. §§ 924(c)(1) (AGI) & 2)
The Grand Jury further charges:

3, On or about July 29, 2024, in the Northern District of Ohio, Eastern Division,
Defendant CHRISTION YARNELL SIMS did knowingly aid or abet another to use, carry, and
brandish a firearm, during and in relation to a crime of violence for which they may be
prosecuted in a court of the United States, to wit: Hobbs Act Robbery, as charged in Count 1,
and Carjacking, as charged in Count 2, in violation of Title 18, United States Code, Sections
924(c)(1)(A)Gi) and 2.

COUNT 4
(Interference with Commerce by Robbery, 18 U.S.C. §§ 1951(a) and 2)

The Grand Jury further charges:
4, On or about September 23, 2024, in the Northern District of Ohio, Eastern

Division, Defendants CHRISTION YARNELL SIMS, did unlawfully obstruct, delay and affect
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commerce, as that term is defined in Title 18, United States Code, Section 1951(b)(3), and the
movement of articles and commodities in such commerce, by robbery, as that term is defined in
Title 18, United States Code, Section 1951(b)(1), in that Defendant, CHRISTION YARNELL
SIMS, did unlawfully take and obtain money or property in the custody, possession, and
presence of employees and/or subcontractors of Vantage Technical Services and/or Brinks
and/or Constant Security Protective Services, against said employees’ will, by means of actual
and threatened force, violence, and fear of immediate injury to said employees, in violation of
Title 18, United States Code, Sections 1951(a) and 2.
COUNT 5
(Using and Carrying a Firearm During and in Relation to a Crime of Violence,
18 U.S.C. §§ 924(c)\(L)(A)GD & 2)
The Grand Jury further charges:
5. On or about September 23, 2024, in the Northern District of Ohio, Eastern

Division, Defendant CHRISTION YARNELL SIMS did knowingly aid or abet another to use,
carry, and brandish a firearm, during and in relation to a crime of violence for which he may be

prosecuted in a court of the United States, to wit: Hobbs Act Robbery, as charged in Count 4, in

violation of Title 18, United States Code, Sections 924(c)(1)(A)(ii) and 2.

FORFEITURE

The Grand Jury further charges:

4, The allegations of Counts | through 5 are hereby re-alleged and incorporated herein
by reference for the purpose of alleging forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
U.S.C, § 2461(c). As a result of such offenses, Defendant CHRISTION YARNELL SIMS shall
forfeit to the United States all property, real and personal, which constitutes, or is derived from

proceeds traceable to the commission of Counts 1 and 4, including but not limited to a 2017
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Black BMW XS bearing VIN: SUXKR2C36H0X04634, purchased by CHRISTION YARNELL

SIMS; and all firearms and ammunition involved in or used in violation of Counts 3 and 5.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002,
